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             IN THE UNITED STATES DISTRICT COURT FOR jJ^OISTRlCT COURT
                      SOUTHERN DISTRICT OF GEORGIA                ' AUGUSTA UlV.
                            AUGUSTA DIVISION
                                                                  im AUG -1 A 11= lAl
UNITED STATES OF AMERICA                *                     CLEP.H
                                        *
                                                                    "cc) "if'iT. L'i' OA.
                                        *


       vs.                              *     CR 106-028
                                        *

                                        *


JEREMIAH LANE




                                   ORDER




       In the captioned criminal matter, Defendant Jeremiah Lane

has filed yet another motion attacking the legality of his

conviction and sentence.           He not only alleges that the Court

erred   in imposing an excessive              sentence, but he claims

ineffective       assistance       of   counsel      in    allowing        these

circumstances to befall him.

       As has been previously explained to Defendant, the proper

vehicle through which to attack the legality of a conviction

or   sentence    is   a   motion   to   vacate,   set     aside    or   correct

sentence under 28 U.S.C. § 2255.             (See Order of May 19, 2016,

Doc. No. 67.)      Defendant, however, has already filed a § 2255

motion.      In order for him to bring another § 2255 motion, he

must move the Eleventh Circuit Court of Appeals for an order

authorizing this Court to consider a second or successive §

2255    motion. ^ 28         U.S.C.     §§   2255,   2244(b)(3).           Until

Defendant acquires the necessary authorization to bring a
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